                         Case 8-17-76547-reg                      Doc 60          Filed 02/14/20               Entered 02/14/20 10:47:29




2A
 /2009
 /2011
 ary
 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                         EASTERN DISTRICT OF NEW YORK


                In re:                                                                          §
                                                                                                §
                BRISCO PROPERTIES LLC                                                           §           Case No. 817-76547 REG
                                                                                                §
                                                              Debtor                            §

                                                   AMENDED TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 11 of the United States Bankruptcy Code was filed on
                 10/24/2017 . The case was converted to one under Chapter 7 on 11/11/2017 . The
                undersigned trustee was appointed on 11/11/2017 .

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $             773,619.70

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                          0.00
                                                  disbursement
                                                  Administrative expenses                                                        5,517.31
                                                  Bank service fees                                                                  0.00
                                                  Other payments to creditors                                                  672,000.00
                                                  Non-estate funds paid to 3rd Parties                                               0.00
                                                  Exemptions paid to the debtor                                                      0.00
                                                  Other payments to the debtor                                                       0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $               96,102.39

                 The remaining funds are available for distribution.

          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
          UST Form 101-7-TFR (5/1/2011) (Page: 1)
               Case 8-17-76547-reg                      Doc 60          Filed 02/14/20               Entered 02/14/20 10:47:29




             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 03/05/2018 and the
      deadline for filing governmental claims was 06/05/2018 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 41,930.99 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 41,930.99 , for a total compensation of $ 41,930.99 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 44.00 , for total expenses of $ 44.00 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 02/03/2020                                     By:/s/ALLAN B. MENDELSOHN
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011) (Page: 2)
                                                    Case 8-17-76547-reg                     Doc 60          Filed 02/14/20                  Entered 02/14/20 10:47:29
                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                               Page:        1
                                                                                               ASSET CASES                                                                                                                Exhibit A
Case No:             817-76547       REG       Judge: ROBERT E. GROSSMAN                                                                         Trustee Name:                       ALLAN B. MENDELSOHN
Case Name:           BRISCO PROPERTIES LLC                                                                                                      Date Filed (f) or Converted (c):     11/11/17 (c)
                                                                                                                                                341(a) Meeting Date:                 12/05/17
For Period Ending: 02/03/20                                                                                                                     Claims Bar Date:                     03/05/18



                                       1                                                    2                            3                           4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,        Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,              Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)              OA=554(a) Abandon             the Estate

 1. 800REAL PROPERTY - Woodmere, NY (u)                                                          0.00                         170,000.00                                            773,619.70                     FA
     944 Northfield Road, Woodmere, NY 11598 Sold at auction to the
     successful bidder for $770,000.00 pursuant to order dated November 2,
     2018
 2. CAUSE OF ACTION                                                                              0.00                         100,000.00                                                  0.00                     FA
     possible preference/fraudulent conveyance claims

                                                                                                                                                                                                    Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                              $0.00                        $270,000.00                                           $773,619.70                            $0.00
                                                                                                                                                                                                    (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Investigated for equity/liens in real property and for meritorious grounds to pursue prosecution of
   preference/fraudulent conveyance actions. Pursued sale of real proprty upon reaching agreement with secured creditor to
   conduct short sale - with court approval.


   Initial Projected Date of Final Report (TFR): 06/30/19           Current Projected Date of Final Report (TFR): 06/30/19




LFORM1   UST Form 101-7-TFR (5/1/2011) (Page: 3)                                                                                                                                                                                  Ver: 22.02c
                                                 Case 8-17-76547-reg              Doc 60        Filed 02/14/20                Entered 02/14/20 10:47:29

                                                                                                    FORM 2                                                                                            Page:      1
                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit B
  Case No:             817-76547 -REG                                                                                                Trustee Name:                    ALLAN B. MENDELSOHN
  Case Name:           BRISCO PROPERTIES LLC                                                                                         Bank Name:                       Empire National Bank
                                                                                                                                     Account Number / CD #:           *******7675 Checking Account (Non-Interest Earn
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/03/20                                                                                                        Blanket Bond (per case limit):   $ 48,172,046.00
                                                                                                                                     Separate Bond (if applicable):


           1              2                                3                                                  4                                                  5                      6                  7
    Transaction       Check or                                                                                                                Uniform                                                 Account / CD
       Date           Reference                 Paid To / Received From                          Description Of Transaction                  Tran. Code     Deposits ($)       Disbursements ($)       Balance ($)
                                                                                   BALANCE FORWARD                                                                                                                   0.00
          10/19/18        1        CHASE                                           PURCHASE DEPOSIT                                          1210-000             60,000.00                                    60,000.00
                                   Cashier's Check for                             Deposit by successful auction bidder towards
                                   Pronto Solutions, LLC                           purchase of 944 Northfield Road, Woodmere, New
                                                                                   York real property - subject to court approval
          10/22/18        1        CHASE CASHIER'S CHECK                           PURCHASE DEPOSIT                                   1210-000                    17,000.00                                    77,000.00
                                   for Pronto Solutions, LLC                       Supplemental Deposit by successful auction bidder
                                                                                   towards purchase of 944 Northfield Road, Woodmere,
                                                                                   New York real property - subject to court approval
          01/03/19     000101      INTERNATIONAL SURETIES, LTD.                    TRUSTEE BOND                                              2300-000                                        24.25             76,975.75
                                   ONE SHELL SQUARE                                Chapter 7 Blanket Bond - EDNY
                                   701 POYDRAS STREET - SUITE 420                  Bond No. 016027942
                                   NEW ORLEANS, LA 70139
          01/30/19                 CHASE                                           PROCEEDS FROM SALE                                                            696,619.70                                773,595.45
                                   Cashier's check for                             Balance of sale proceeds from January 30, 2019
                                   Barry M. Kleinman                               closing of real estate sale per order dated November 2,
                                                                                   2018
                          1        CHASE                                              Memo Amount:    693,000.00                             1210-000
                                                                                   PROCEEDS FROM SALE
                          1        CLOSING ADJUSTMENT                                  Memo Amount:             3,619.70                     1290-000
                                                                                   closing adjustment
                                                                                   Closing adjustment for real estate/school taxes
          01/30/19     000102      Wells Fargo Bank, N.A.                          LIEN PAYMENT                                              4110-000                                   672,000.00         101,595.45
                                   c/o Stein, Wiener & Roth, L.L.P.                pursuant to November 2, 2018 Order
                                   One Old Country Road, Suite 113                 Premises: 944 Northfield Road, Woodmere, NY
                                   Carle Place, NY 11514                           11598
          01/30/19     000103      Bellmore Lock & Alarm, Inc.                     01/09/19 Invoice No. 9222                                 2420-000                                       119.49         101,475.96
                                   2244 Elliot Street
                                   Merrick, NY 11566
          01/30/19     000104      Valentino Plumbing and Heating                  01/16/19 Invoice No. 6                                    2420-000                                       600.00         100,875.96

                                                                                                                                     Page Subtotals              773,619.70              672,743.74
          UST Form 101-7-TFR (5/1/2011) (Page: 4)                                                                                                                                                              Ver: 22.02c
LFORM24
                                                   Case 8-17-76547-reg               Doc 60         Filed 02/14/20               Entered 02/14/20 10:47:29

                                                                                                       FORM 2                                                                                                       Page:       2
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                             Exhibit B
  Case No:               817-76547 -REG                                                                                                Trustee Name:                       ALLAN B. MENDELSOHN
  Case Name:             BRISCO PROPERTIES LLC                                                                                         Bank Name:                          Empire National Bank
                                                                                                                                       Account Number / CD #:              *******7675 Checking Account (Non-Interest Earn
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/03/20                                                                                                          Blanket Bond (per case limit):      $ 48,172,046.00
                                                                                                                                       Separate Bond (if applicable):


           1                2                               3                                                   4                                                    5                          6                         7
    Transaction         Check or                                                                                                              Uniform                                                               Account / CD
       Date             Reference                 Paid To / Received From                           Description Of Transaction               Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                     72 Frost Pond Road
                                     Glen Cove, NY 11542
          01/31/19       000105      TRUSTEE INSURANCE AGENCY                          INSURANCE PREMIUM PAYMENT                        2420-000                                                    4,060.44                  96,815.52
                                     2813 West Main                                    01/31/19 Statement # 3606
                                     Kalamazoo, MI 49006                               Premises: 944 Northfield Rd., Woodmere, NY 11598
          03/06/19       000106      GARY R. LAMPERT, CPA                              ACCOUNTANT FEES                                       3410-000                                                500.00                   96,315.52
                                     100 MERRICK ROAD, SUITE 211-W                     pursuant to December 17, 2018 order and March 5,
                                     ROCKVILLE CENTRE, NY 11570                        2019 invoice for preparation of estate tax returns
          03/18/19       000107      PSEG Long Island                                  UTILITY CHARGES                                       2990-000                                                 13.13                   96,302.39
                                     PO Box 9050                                       Customer ID: 0522-9008-41-1
                                     Hicksville, NY 11802-9050                         Account No: 1122341025
          02/03/20       000108      GARY R. LAMPERT, CPA                              ACCOUNTANT FEES                                       3410-000                                                200.00                   96,102.39
                                     100 MERRICK ROAD, SUITE 211-W                     pursuant to December 17, 2018 order and January 28,
                                     ROCKVILLE CENTRE, NY 11570                        2020 invoice for preparation of estate tax returns

                                             Memo Allocation Receipts:           696,619.70                      COLUMN TOTALS                                      773,619.70                  677,517.31                     96,102.39
                                         Memo Allocation Disbursements:                0.00                          Less: Bank Transfers/CD's                            0.00                        0.00
                                                                                                                 Subtotal                                           773,619.70              677,517.31
                                                   Memo Allocation Net:          696,619.70                          Less: Payments to Debtors                                                    0.00
                                                                                                                 Net
                                                                                                                                                                    773,619.70              677,517.31
                                                                                                                                                                                           NET                             ACCOUNT
                     Total Allocation Receipts:          696,619.70                                              TOTAL - ALL ACCOUNTS                        NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:                 0.00                            Checking Account (Non-Interest Earn - ********7675                    773,619.70                  677,517.31                   96,102.39
                                                                                                                                                           ------------------------    ------------------------   ------------------------
                     Total Memo Allocation Net:          696,619.70
                                                                                                                                                                     773,619.70                  677,517.31                   96,102.39
                                                                                                                                                           ==============             ==============              ==============
                                                                                                                                                            (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                       Transfers)               To Debtors)                    On Hand




                                                                                                                                       Page Subtotals                        0.00                    4,773.57
          UST Form 101-7-TFR (5/1/2011) (Page: 5)                                                                                                                                                                             Ver: 22.02c
LFORM24
                                                Case 8-17-76547-reg              Doc 60   Filed 02/14/20               Entered 02/14/20 10:47:29

                                                                                             FORM 2                                                                                           Page:    3
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit B
  Case No:             817-76547 -REG                                                                                      Trustee Name:                    ALLAN B. MENDELSOHN
  Case Name:           BRISCO PROPERTIES LLC                                                                               Bank Name:                       Empire National Bank
                                                                                                                           Account Number / CD #:           *******7675 Checking Account (Non-Interest Earn
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 02/03/20                                                                                              Blanket Bond (per case limit):   $ 48,172,046.00
                                                                                                                           Separate Bond (if applicable):


          1               2                              3                                            4                                                5                       6                  7
    Transaction       Check or                                                                                                    Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                    Description Of Transaction             Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)




                                                                                                                           Page Subtotals                        0.00                  0.00
          UST Form 101-7-TFR (5/1/2011) (Page: 6)                                                                                                                                                     Ver: 22.02c
LFORM24
                       Case 8-17-76547-reg                     Doc 60          Filed 02/14/20            Entered 02/14/20 10:47:29



                                                                            EXHIBIT C
 Page 1                                                                                                                                            Date: February 03, 2020
                                                                   ANALYSIS OF CLAIMS REGISTER

 Case Number:      817-76547                                            Claim Class, Priority Sequence
 Debtor Name:      BRISCO PROPERTIES LLC


Code #              Creditor Name & Address               Claim Class      Notes                           Amount Allowed               Paid to Date      Claim Balance

               Wells Fargo Bank, N.A.                 Secured                                                   $672,000.00           $672,000.00                    $0.00
050            c/o Stein, Wiener & Roth, L.L.P.         satisfaction of lien pursuant to November 2, 2018 Order from proceeds of January 30, 2019
4110-00        One Old Country Road, Suite 113          closing on sale of premises: 944 Northfield Road, Woodmere, NY 11598
               Carle Place, NY 11514

                             Subtotal for Class Secured                                                         $672,000.00             $672,000.00                  $0.00

               TRUSTEE INSURANCE AGENCY               Administrative                                               $4,060.44              $4,060.44                  $0.00
               2813 West Main                           01/31/19 Statement # 3606
2420-75        Kalamazoo, MI 49006                      Premises: 944 Northfield Rd., Woodmere, NY 11598
                                                        Insurance coverage premium paid per 11/02/18 order.


               CLERK OF THE COURT                     Administrative                                                   $0.00                   $0.00                 $0.00
001            U.S. BANKRUPTCY COURT
2700-00        ALFONSE M. D'AMATO U.S.
               COURTHOUSE
               290 FEDERAL PLAZA
               P.O. BOX 9013
               CENTRAL ISLIP, NY 11722-9013

               LAMONICA HERBST &                      Administrative                                              $28,736.07                   $0.00           $28,736.07
001            MANISCALCO, LLP                          voluntarily reduced from 49,704.25
3210-00        3305 JERUSALEM AVENUE
               WANTAGH, NY 11793

               LAMONICA HERBST &                      Administrative                                               $1,263.93                   $0.00             $1,263.93
001            MANISCALCO, LLP
3220-00        3305 JERUSALEM AVENUE
               WANTAGH, NY 11793

               MALTZ AUCTIONS, INC.                   Administrative                                              $22,900.00                   $0.00           $22,900.00
001            39 Windsor Place
3510-00        Central Islip, NY 11722

               MALTZ AUCTIONS, INC.                   Administrative                                               $5,874.82                   $0.00             $5,874.82
001            39 Windsor Place
3520-00        Central Islip, NY 11722

               GARY R. LAMPERT, CPA          Administrative                                                          $700.00                $700.00                  $0.00
001            100 MERRICK ROAD, SUITE 211-W
3410-00        ROCKVILLE CENTRE, NY 11570

000001         U.S. Trustee                           Administrative                                                  $325.00                   $0.00             $325.00
001            P.O. Box 530202                          (1-1) unpaid quarterly fees assessed under chapter 123 of title 28, United States Code.
2950-00        Atlanta, GA 30353

               Valentino Plumbing and Heating         Administrative                                                 $600.00                $600.00                  $0.00
999            72 Frost Pond Road                       01/16/19 Invoice No. 6 - winterization fee paid pursuant to November 2, 2018 order.
2420-00        Glen Cove, NY 11542

               Bellmore Lock & Alarm, Inc.            Administrative                                                $119.49              $119.49                     $0.00
999            2244 Elliot Street                       01/09/19 Invoice No. 9222 - locksmith fee paid pursuant to November 2, 2018 order.
2420-00        Merrick, NY 11566




CREGISTRUST   Form 101-7-TFR (5/1/2011) (Page: 7)                                                                                Printed: 02/03/20 10:13 PM    Ver: 22.02c
                       Case 8-17-76547-reg                   Doc 60         Filed 02/14/20            Entered 02/14/20 10:47:29



                                                                           EXHIBIT C
 Page 2                                                                                                                                   Date: February 03, 2020
                                                                  ANALYSIS OF CLAIMS REGISTER

 Case Number:      817-76547                                         Claim Class, Priority Sequence
 Debtor Name:      BRISCO PROPERTIES LLC


Code #              Creditor Name & Address            Claim Class      Notes                           Amount Allowed         Paid to Date       Claim Balance

BOND           INTERNATIONAL SURETIES, LTD. Administrative                                                      $24.25               $24.25                 $0.00
999            ONE SHELL SQUARE
2300-00        701 POYDRAS STREET - SUITE 420
               NEW ORLEANS, LA 70139

                             Subtotal for Class Administrative                                               $64,604.00           $5,504.18            $59,099.82
000002         INTERNAL REVENUE SERVICE               Unsecured                                              $26,520.00               $0.00            $26,520.00
070            PO BOX 7317
7100-00        PHILA PA 19101-7317

                             Subtotal for Class Unsecured                                                    $26,520.00               $0.00            $26,520.00

                  Case Totals:                                                                              $763,124.00         $677,504.18            $85,619.82
 Code #: Trustee's Claim Number, Priority Code, Claim Type




CREGISTRUST   Form 101-7-TFR (5/1/2011) (Page: 8)                                                                         Printed: 02/03/20 10:13 PM   Ver: 22.02c
             Case 8-17-76547-reg             Doc 60      Filed 02/14/20     Entered 02/14/20 10:47:29




                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 817-76547 REG
     Case Name: BRISCO PROPERTIES LLC
     Trustee Name: ALLAN B. MENDELSOHN
                         Balance on hand                                              $                96,102.39

               Claims of secured creditors will be paid as follows:

                                                             Allowed            Interim
                                                             Amount of          Payment to         Proposed
       Claim No. Claimant                     Claim Asserted Claim              Date               Payment
                      Wells Fargo Bank,
                      N.A.                   $   672,000.00 $     672,000.00 $     672,000.00 $                0.00
                 Total to be paid to secured creditors                                $                        0.00
                 Remaining Balance                                                    $                96,102.39


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant                Total Requested    to Date          Payment
       Trustee Fees: ALLAN B. MENDELSOHN                 $      41,930.99 $               0.00 $       39,868.18
       Trustee Expenses: ALLAN B.
       MENDELSOHN                                        $            44.00 $             0.00 $              41.83
       Attorney for Trustee Fees: LAMONICA
       HERBST & MANISCALCO, LLP                          $      28,736.07 $               0.00 $       27,322.39
       Attorney for Trustee Expenses:
       LAMONICA HERBST & MANISCALCO,
       LLP                            $                          1,263.93 $               0.00 $         1,201.75
       Accountant for Trustee Fees: GARY R.
       LAMPERT, CPA                                      $         700.00 $          700.00 $                  0.00
       Charges: CLERK OF THE COURT                       $             0.00 $             0.00 $               0.00
       Fees: U.S. Trustee                                $         325.00 $               0.00 $          309.01
       Other: MALTZ AUCTIONS, INC.                       $      22,900.00 $               0.00 $       21,773.42




UST Form 101-7-TFR (5/1/2011) (Page: 9)
             Case 8-17-76547-reg            Doc 60    Filed 02/14/20      Entered 02/14/20 10:47:29




                                                                          Interim Payments Proposed
                         Reason/Applicant              Total Requested    to Date          Payment
      Other: MALTZ AUCTIONS, INC.                     $         5,874.82 $                0.00 $       5,585.81
      Other: Valentino Plumbing and Heating           $           600.00 $           600.00 $                0.00
      Other: Bellmore Lock & Alarm, Inc.              $           119.49 $           119.49 $                0.00
      Other: INTERNATIONAL SURETIES,
      LTD.                                            $            24.25 $            24.25 $                0.00
      Other: TRUSTEE INSURANCE AGENCY $                         4,060.44 $         4,060.44 $                0.00
                 Total to be paid for chapter 7 administrative expenses               $               96,102.39
                 Remaining Balance                                                    $                      0.00


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 26,520.00 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:




UST Form 101-7-TFR (5/1/2011) (Page: 10)
             Case 8-17-76547-reg           Doc 60     Filed 02/14/20        Entered 02/14/20 10:47:29




                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
                          INTERNAL REVENUE
     000002               SERVICE                    $        26,520.00 $              0.00 $               0.00
                 Total to be paid to timely general unsecured creditors               $                     0.00
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                             NONE




UST Form 101-7-TFR (5/1/2011) (Page: 11)
